Case 2:19-cv-00291-JRG-RSP Document 195 Filed 01/06/21 Page 1 of 3 PageID #: 6308



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  ULTRAVISION TECHNOLOGIES, LLC,

          Plaintiff,                                  Case No. 2:19-cv-00291-JRG-RSP
                                                      LEAD CASE
                       v.

  HOLOPHANE EUROPE LIMITED,
  ACUITY BRANDS LIGHTING DE
  MEXICO S DE RL DE CV,
  HOLOPHANE, S.A. DE C.V. and
  ARIZONA (TIANJIN) ELECTRONICS
  PRODUCTS TRADE CO. LTD.,

          Defendants.

  YAHAM OPTOELECTRONICS CO., LTD.,                    Case No. 2:19-cv-00398-JRG-RSP
          Defendant.                                  MEMBER CASE


                                  NOTICE OF COMPLIANCE

          Holophane Europe Limited, Acuity Brands Lighting De Mexico S De RL De CV,

  Holophane S.A. De C.V., and Arizona (Tianjin) Electronics Products Trade Co., LTD.

  (“Holophane Defendants”) hereby notify the Court that pursuant to the Court’s First Amended

  Docket Control Order [Dkt. 110], they have served their Objections to Pretrial Disclosures and

  Rebuttal Pretrial Disclosures upon Plaintiff’s counsel of record via electronic mail on January 5,

  2021.
Case 2:19-cv-00291-JRG-RSP Document 195 Filed 01/06/21 Page 2 of 3 PageID #: 6309




  Dated: January 6, 2021                   Respectfully Submitted,

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                                           Counsel for Defendants
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                                           Acuity Brands Lighting De Mexico S De RL
                                           De CV, Holophane, S.A. De C.V.
                                           Arizona (Tianjin) Electronics Products
                                           Trade Co., LTD.,




                                          2
Case 2:19-cv-00291-JRG-RSP Document 195 Filed 01/06/21 Page 3 of 3 PageID #: 6310



                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing document was filed electronically in

  compliance with Local Rule CV-5(a). As such, this document was served on all counsel who

  have consented to electronic service, on this the 6th day of January, 2021.


                                                   /s/ Melissa R. Smith
                                                   Melissa R. Smith




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